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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:17-cv-02278-RBJ

  KEVIN HARTWELL,
  BARBARA HARTWELL,

            Plaintiffs,
  v.

  CORRECTIONAL MEDICAL GROUP COMPANIES INC., d/b/a SOUTHWEST
  CORRECTIONAL MEDICAL GROUP, LLC, d/b/a SOUTHWEST CORRECTIONAL
  MEDICAL GROUP PLLC, d/b/a COLORADO CORRECTIONAL MEDICAL GROUP,
  PLLC,
  DOUGLAS COUNTY,
  SHERIFF TONY SPURLOCK, in his individual and official capacity,
  CAPTAIN KEVIN DUFFY, in his individual and official capacity,
  TIMOTHY G. MOSER, MD, in his individual and official capacity,
  SOPHIA NIX, LPN, in her individual and official capacity,
  DAISHA WADE, LPN, in her individual and official capacity,
  STEPHANIE RUSSAK, RN, CHARGE NURSE, in her individual and official capacity,
  JESSICA ISAACS, RN, in her individual and official capacity,
  DEIMYS VIGIL, RN, in her individual and official capacity,

        Defendants.
  ___________________________________________________________________________

                             PROTECTIVE ORDER
  ___________________________________________________________________________


              Pursuant to the Joint Stipulated Motion for Protective Order filed by the parties,

       the Court hereby Orders as follows:

              1.      This Protective Order may apply to non-public documents, which include

       but are not limited to documents that could not be obtained pursuant to a Colorado Open

       Records Act (CORA) request, and which are disclosed pursuant to the disclosure or

       discovery duties created by the Federal Rules of Civil Procedure.

              2.          As used in this Protective Order, “document” is defined as provided by
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 Fed. R. Civ. P. 34(a). A draft or non-identical copy is a separate document within the

 meaning of this term.

         3.        One who discloses any nonpublic documents or information, and who in

 good faith believes such documents or information are protected by a statutory,

 regulatory, or common law right of privacy due to containing confidential medical or

 criminal information, or posing a jail security threat if publicly disclosed of the Plaintiffs

 or any of the Defendants may designate such documents or information as

 “Confidential.”      The documents or information so designated shall be deemed

 “Confidential Material” subject to this Protective Order.

         4.          Confidential Material shall be subject to the following restrictions.

 Confidential Material shall be used only for the limited purpose of preparing for and

 conducting this civil action (including any appeals), and not for any other purpose

 whatsoever, and shall not, without the consent of the party producing it or further Order

 of the Court, be disclosed in any way to anyone except those specified in this paragraph:

         (a)     attorneys actively working on this case;

         (b)       persons regularly employed or associated with the attorneys actively

 working on the case whose assistance is required by said attorneys in the preparation for

 trial, or at other proceedings in this case;

         (c)     the parties and designated representatives of the Defendants;

         (d)     expert witnesses and consultants retained in connection with this

 proceeding, to the extent such disclosure is necessary for preparation, trial or other

 proceedings in this case;

         (e)     the Court and its employees (“Court Personnel”);
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            (f)    stenographic reporters who are engaged in proceedings necessarily incident

    to the conduct of this action;

            (g)     deponents, witnesses, or potential witnesses who execute the attached

            Exhibit A;

            (h)     and other persons by written agreement of the parties who execute the

            attached Exhibit A.

            5.             This Protective Order shall not prohibit or restrain any party from

    performing the tasks necessary to prepare for trial; however, any redisclosure or

    communication of the information covered by this Protective Order, except as

    specifically allowed by this Protective Order for the purposes of this litigation only, is

    strictly prohibited.

            6.        Counsel to the parties are required to advise, instruct and supervise all

    experts, associates, staff and employees of counsel to keep designated Confidential

    Material confidential in the strictest possible fashion. Counsel and the Parties also agree

    to such treatment of the information by themselves, and counsel will appropriately

    instruct their clients as to the protected nature of the information produced pursuant to

    this order and the limitations on its use and disclosure.

            7.      Documents may be designated as Confidential by placing or affixing on

    them (in a manner that will not interfere with their legibility) the following or other

    appropriate notice: “CONFIDENTIAL.”

            8.     Whenever a deposition involves the disclosure of Confidential Material,

    the deposition or portions thereof may be designated as Confidential and subject to this

    Protective Order. Such designation shall be made on the record during the deposition
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 whenever possible, but a party may designate portions of depositions as Confidential

 after transcription, provided written notice of the designation is promptly given to all

 counsel of record within thirty (30) days after notice by the court reporter of the

 completion of the transcript. The cover page, those portions of the original transcripts

 that contain confidential material shall bear the legend “CONFIDENTIAL—SUBJECT

 TO PROTECTIVE ORDER.”

        9.        Any party may object to the designation of particular documents or

 portions of depositions as Confidential by giving written notice to the party designating

 the disputed information.     The written notice shall identify the information to which

 objection is made. If the parties cannot resolve the objection within ten (10) business

 days after the time the notice is received, it shall be the obligation of the party

 designating the information as confidential to file an appropriate motion requesting that

 the Court determine whether the disputed information should be subject to the terms of

 this Protective Order. If such a motion is timely filed, the disputed information shall be

 treated as confidential under the terms of this Protective Order until the Court rules on

 the motion. If the designating party fails to file such a motion within the prescribed

 time, the disputed information shall lose its designation as confidential and shall not

 thereafter be treated as confidential in accordance with this Protective Order.          In

 connection with any motion filed under this provision, the party designating the

 information as confidential shall bear the burden of establishing that good cause exists for

 the disputed information to be treated as confidential.

        10.       The termination of this action shall not relieve counsel or any party or

 other persons obligated hereunder from their responsibility to maintain the confidentiality
Case
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     of Confidential Information pursuant to the Protective Order. The terms and conditions

     in this Protective Order survive the termination of this litigation.

            11.       A party contemplating filing Confidential Material protected by this

     Protective Order with the Court shall either redact the confidential information or, if the

     information must be seen by the Court, shall request a narrow order restricting public

     access and showing good cause.

            12.       This Protective Order may be modified by the Court at any time for

     good cause shown following notice to all parties and an opportunity for them to be heard.

            13.        Nothing in this Protective Order shall prevent any party or other

     person from seeking modification of this order or from objecting to discovery that the

     party or other person believes to be improper.

                            Dated this 3rd day of May, 2018.


                                                            BY THE COURT:



                                                            R. Brooke Jackson
                                                            United States District Judge
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                        IN THE UNITED STATES DISTRICT
                            COURT FOR THE DISTRICT OF
                            COLORADO

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JESSICA ISAACS, RN, in her individual and official capacity,
DEIMYS VIGIL, RN, in her individual and official capacity,

      Defendants.
_____________________________________________________________________________
 ____________________________________________________________________________
                     EXHIBIT A TO PROTECTIVE ORDER


        I,                                          , the undersigned, hereby acknowledge
        that I have read the Protective Order issued by the Court in the above captioned civil
        action and I understand the terms and conditions of such Protective Order governing
        the restricted use of information and materials obtained from the Parties and provided
        to me for the sole purposes of the above captioned action, and hereby agree to keep all
        such information and materials strictly and absolutely confidential, and in all other
        respects to be bound by the terms of the Protective Order.

        My current address and telephone number is:




                                                                  Signature

                                              6
